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14                                UNITED STATES DISTRICT COURT

15                              NORTHERN DISTRICT OF CALIFORNIA

16                                        SAN JOSE DIVISION

17   IN RE SEAGATE TECHNOLOGY LLC                         No. 5:16-cv-00523-RMW
     LITIGATION
18
                                                          [PROPOSED] STIPULATED ORDER
19   CONSOLIDATED ACTION                                  RE: DISCOVERY OF
                                                          ELECTRONICALLY STORED
20                                                        INFORMATION
21

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 1   A.      PURPOSE
 2           Unless otherwise agreed to by the parties, this Order will govern discovery of electronically

 3   stored information (“ESI”) in the above captioned case and all actions that are later consolidated with

 4   this case (collectively, the “Litigation”) as a supplement to the Federal Rules of Civil Procedure, this

 5   Court’s Guidelines for the Discovery of Electronically Stored Information, and any other applicable

 6   orders and rules. Capitalized terms in this Order are defined in the attached Exhibit A.

 7   B.      COOPERATION
 8           The parties are aware of the importance the Court places on cooperation and commit to

 9   cooperate in good faith throughout the matter consistent with this Court’s Guidelines for the

10   Discovery of ESI.

11   C.      LIAISON
12           Within 10 days after entry of this stipulation and Order, the parties will identify ESI liaisons

13   to each other who are and will be knowledgeable about and responsible for discussing their

14   respective ESI. Each ESI liaison will be, or have access to those who are, knowledgeable about the

15   technical aspects of e-discovery, including the location, nature, accessibility, format, collection,

16   search methodologies, and production of ESI in this matter. The parties will rely on the ESI liaisons,

17   as needed, to confer about ESI and to help resolve disputes without court intervention. Any party is

18   free to change its designated ESI Liaison by providing written notice to the other parties.
19   D.      PRESERVATION
20           The parties will discuss their preservation obligations and needs and agree that preservation

21   of potentially relevant ESI will be reasonable and proportionate. Given the nature and complexity of

22   these coordinated actions, the parties agree to address methods to reduce the costs and burdens of

23   preservation and to ensure proper ESI is preserved. The parties shall meet and confer as early as

24   possible to discuss, inter alia:

25                1) Ranges of creation or receipt dates for ESI to be preserved;

26                2) Description of data from sources that are not reasonably accessible and that will not
27                      be reviewed for responsiveness or produced, but that will be preserved pursuant to

28                      Federal Rule of Civil Procedure 26(b)(2)(B);
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 1                3) Data from sources that either party believe could contain relevant information but is

 2                      not discoverable and should not be preserved, upon balancing the proportionality

 3                      factors;

 4                4) Whether to suspend any automated document destruction program of electronically-

 5                      recorded material;

 6                5) Custodians for whom ESI will be preserved, including names or general titles and the

 7                      number of custodians;

 8                6) Systems, if any, that contain ESI not associated with individual custodians that will be

 9                      preserved; and

10                7) Any disputes related to scope or manner of preservation.

11           The following categories of ESI are not discoverable—and, to the extent that they exist, need

12   not be retained, processed, reviewed, or produced—except upon a showing of good cause: (a)

13   recorded voice messages; (b) temporary data stored in a computer’s random access memory (RAM),

14   or other ephemeral data that are difficult to preserve without disabling the operating system; (b)

15   common system and program files; (c) Online Access Data; (d) electronic mail sent to or from

16   mobile devices (e.g., iPhone and Blackberry devices), provided that a copy of such mail is saved

17   elsewhere; (e) other electronic data stored on a mobile device, such as calendar or contact data or

18   notes, provided that a copy of such information is saved elsewhere; (f) Network Access and Server
19   Activity Logs; (g) on-line access data such as temporary internet files, history, cache, cookies, etc.;

20   (h) data in metadata fields that are frequently updated automatically, such as last-opened dates.

21   E.      SEARCH
22           The parties will continue to cooperate in good faith regarding the disclosure and formulation

23   of appropriate search terms and protocols used to search for ESI responsive to document requests

24   served pursuant to Federal Rule of Civil Procedure 34. The parties shall meet and confer as early as

25   possible to discuss, inter alia:

26            1) Disclosure of search terms used to search for documents responsive to document
27                 requests, including semantic synonyms. Semantic synonyms shall mean without

28                 limitation code words, terms, phrases or illustrations, acronyms, abbreviations, or non-
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 1                 language alphanumeric associational references to relevant ESI, or information that may

 2                 lead to the discovery of relevant ESI;

 3            2) Post-search error sampling and sampling/testing reports, if any; and

 4            3) Potential use of computer-assisted review or predictive coding techniques.

 5           The parties will meet and confer, prior to the application of search terms to find documents

 6   responsive to party document requests, and will review any search terms proposed and/or requested

 7   by the parties. The parties will continue to meet and confer regarding any search process issues as

 8   necessary and appropriate, including any supplemental requests to add additional search terms based

 9   on supplemental document productions by either party. If the Receiving Party has reason to believe

10   that a production is missing relevant ESI or contains substantial amounts of irrelevant ESI, the

11   parties agree to promptly meet and confer regarding potential quality control methods that the

12   Producing Party can implement.

13           This ESI protocol does not address or resolve any other objection to the scope of the parties’

14   respective discovery requests.

15   F.      PRODUCTION FORMATS
16           The parties agree that documents produced in these proceedings, whether originally stored in

17   paper or electronic form, shall be produced in electronic form in the manner as described below.

18   Notwithstanding the foregoing provisions of this paragraph, the Parties reserve the right to request
19   that an alternative format or method of production be used for certain Documents. In that event, the

20   Receiving Party and the Producing Party will meet and confer to discuss alternative production

21   requirements, concerns, formats, or methods.

22           1) Document Format. Documents shall be produced according to the following formats:
23                            i. Electronic Production of Paper Documents. Documents that are

24                               maintained in paper format shall be scanned per document and converted

25                               to a Static Image, and, except as otherwise provided below, shall be

26                               produced as black and white 1-bit TIFF images at 300 x 300 d.p.i. or
27                               greater resolution, in Group 4 compression single-page TIFFs and reflect

28                               the full and complete information contained in the original Document.
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 1                          Documents shall also be produced with the associated OCR, and with an

 2                          index file, in accordance with Paragraph F(1)(iii)(A), below. In the event

 3                          a Document is redacted, the Producing Party shall withhold the redacted

 4                          text for that Document.

 5                      ii. Electronically Stored Information. Except as provided in Paragraph

 6                          F(1)(iii)(E) below, Document images shall be generated from electronic

 7                          Documents in a Group 4 compression single-page “TIFF” image that

 8                          reflects the full and complete information contained on the original

 9                          Document. All black and white images must be in 1-bit TIFF image format

10                          and color documents, if applicable, must be in 8-bit JPG image format,

11                          together with an index file or functional equivalent specified in Paragraph

12                          F(1)(iii)(A) that contains the metadata as set forth in Paragraph F(8),

13                          below, and Extracted Text or associated OCR or a link thereto. In the

14                          event a Document is redacted, the Producing Party shall withhold the

15                          redacted text for that Document.

16                      iii. File Structure. Each production shall include the following unless

17                          otherwise agreed between the parties:

18                           A) Index File:
19                                      a.   Each production has one index file, in .DAT file format.

20                                      b. The format of the DAT file should use Western European

21                                           (Windows) encoding Standard Concordance delimiters

22                                           shall be used:

23                                               i. Comma — ASCII character 20 (¶);

24                                              ii. Quote — ASCII character 254 (þ); and

25                                              iii. Newline — ASCII character 174 (®).

26                                      c. First line must contain column/field names.
27                                      d. The fields BEGINBATES, ENDBATES, TEXTPATH and

28                                           NATIVELINK must be present.
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 1                                         e. Each subsequent row must contain the Metadata for one

 2                                            Document.

 3                                         f. Every row must have the same number of columns/fields

 4                                            (empty values are acceptable).

 5                                         g. File should be placed in the root directory.

 6                               B) OCR and Extracted Text Files (.TXT Files):
 7                                         a. A single text file for each Document containing all the

 8                                            Document’s pages, in text.

 9                                         b. Filenames should be of the form: <Bates num>.txt, where

10                                            <Bates num> is the Bates number of the first page of the

11                                            Document, filenames should not contain spaces.

12                                         c. Text must be encoded in Western European (Windows)

13                                            format.

14                                         d. The TEXTPATH of the OCR or Extracted Text files should

15                                            be included as a field in the DAT file listed above.

16                                         e. Files should be placed in the text/ subdirectory.

17                               C) Image Files:1
18                                         a. A single image for each page in each Document.
19                                         b. A single image per file (no multi-page image files).

20                                         c. The default format should be 1-bit black and white single-

21                                            page TIFF images and 24-bit color JPG images, if

22                                            applicable.

23                                         d. Filenames should be of the form: <Bates num>.<ext>,

24                                            where <Bates num> is the BATES number of the page, and

25                                            <ext> is the appropriate extension for the image format

26                                            (.jpg, .tif, .png, etc.), filenames should not contain spaces.
27
         1
28           Not required for documents produced in Native Format

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 1                                    e. Files should be placed in the images/ subdirectory.

 2                        D) Native Files:
 3                                    a. Native files need only be produced for (a) Microsoft Excel

 4                                        files, (b) Microsoft PowerPoint files, and (c) other files that

 5                                        the parties may agree should be produced natively pursuant

 6                                        to Paragraph F(1)(iii)(E), below.

 7                                    b. Where Documents are produced in Native Format (pursuant

 8                                        to Paragraph F(1)(iii)(E), below) filenames must be unique

 9                                        in the production, unless the content is identical; preferably

10                                        by naming files by the starting Bates number of the

11                                        associated document.

12                                    c. The filename of a native file must retain the file extension

13                                        corresponding to the original Native Format; for example,

14                                        an Excel 2003 spreadsheet’s extension must be .XLS.

15                                    d. Each native file filename must correspond to the

16                                        NATIVELINK metadata field in its corresponding

17                                        document’s row in the DAT file.

18                                    e. Where native files are produced pursuant to this subsection,
19                                        it is unnecessary to produce Image files, such as TIFF

20                                        images, other than the Bates stamped native placeholder

21                                        documents discussed below.

22                                    f. Any native file text must be encoded in Western European

23                                        (Windows) format.

24                                    g. Native files should be placed in the native’s subdirectory.

25                        E) Native Format Documents. The parties recognize that it may be
26                              appropriate for certain Documents to be produced in Native Format.
27                              Therefore, the Producing Party shall produce all .XLS spreadsheets

28                              and .PPT presentations in Native Format, unless there is an agreement
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 1                               to the contrary, with Bates stamped native placeholder documents

 2                               representing native documents for purposes of document

 3                               identification and confidentiality designations. The Receiving Party

 4                               may also request that the Producing Party produce additional file

 5                               types of electronic Documents in Native Format where the converted

 6                               image format distorts or causes the information to be improperly

 7                               displayed, or for which there is no visual representation, such as audio

 8                               files. The parties will meet and confer regarding such requests.

 9                                     If a Document to be produced as a Native Format contains

10                              privileged information as well as non-privileged information, it shall

11                              be produced in TIFF format with redactions rather than Native Format.

12                                     To the extent the Producing Party wishes to establish additional

13                              procedures for the protection of confidential information as defined in

14                              any applicable Protective Order entered herein produced in Native

15                              Format, the Producing Party and the Receiving Party shall meet and

16                              confer to establish additional procedures, to the extent necessary, for

17                              the protection of the information in Native Format.

18                      iv. Color. Documents shall be produced in black and white in the first
19                          instance. If a produced Document contains color and that color is

20                          necessary to decipher the meaning, context, or content of the document,

21                          the Producing Party shall honor reasonable requests for either the

22                          production of the original Document for inspection and copying or

23                          production of a color image of the Document.

24                      v. Resolution of Production Issues. If Documents cannot be read because of

25                          imaging or formatting problems, the Producing Party and the Receiving

26                          Party shall meet and confer to attempt to resolve problem(s), to the extent
27                          the problem(s) are within the Parties’ control.

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 1           2) Production Media. A Producing Party shall produce Documents on such readily
 2                accessible computer or electronic media as the Producing Party and the Receiving Party

 3                may hereafter agree upon (the “Production Media”). Information that shall be identified

 4                on the face of the Production Media shall include: (1) the production date, and (2) the

 5                confidentiality notation required by the Protective Order entered in this case, if the media

 6                contains Confidential Information, as defined in the Protective Order. The face of the

 7                Production Media shall also contain the Bates Number range(s) of the Documents on the

 8                Production Media, and where not practicable to do so, may be provided in an

 9                accompanying letter. If the Producing Party encrypts or “locks” the production, the

10                Producing Party shall include with the production or in a separate letter or email an

11                explanation of how to decrypt the files. The parties agree to the following production

12                formats: SFTP site, CD, DVD or external USB hard drive, whichever results in the least

13                number of items.

14           3) Production of Structured Data. To the extent a response to discovery requires
15                production of discoverable electronic information contained in a Database, in lieu of

16                producing the Database, the parties shall meet and confer to, with an understanding of

17                which fields are relevant, agree upon a set of queries to be made for discoverable

18                information and generate a report in a reasonably usable and exportable electronic file
19                (e.g., Excel or CSV format) for review by the Requesting Party or counsel. Upon review

20                of the report(s), the Requesting Party may make reasonable requests for additional

21                information to explain the Database scheme, codes, abbreviations, and different report

22                formats or to request specific data from identified fields.

23                      If a Producing Party asserts that certain ESI is inaccessible or otherwise unnecessary

24                or inadvisable under the circumstances, or if the Requesting Party asserts that, following

25                production, certain ESI is not reasonably usable, the parties shall meet and confer with

26                their respective technology experts to discuss resolving such assertions. If the parties
27                cannot resolve any such disputes after such a meet and confer has taken place, the issue

28                shall be presented to the Court for resolution.
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 1           4) Document Unitization. Paper documents scanned into Document Images shall be
 2                logically unitized in a manner so as to maintain the document(s) and any attachments, as

 3                they existed in their original state, if possible. For electronic documents, the relationship

 4                of Documents in a Document collection (e.g., cover letter and enclosures, e-mail and

 5                attachments, binder containing multiple documents, or other documents where a parent-

 6                child relationship exists between the documents) shall be maintained through the

 7                scanning or conversion process from Native Format to TIFF, provided however that the

 8                Parties shall only be required to present one level of parent-child relationship. Document

 9                Images generated from attachments to e-mails stored in Native Format shall be produced

10                contemporaneously and sequentially immediately after the parent e-mail. All hard copy

11                Documents imaged and produced electronically shall include a unitization file (“index

12                file”) in accordance with paragraph F(1)(iii)(a).

13           5) Duplicates. The Producing Party may remove duplicate Documents pursuant to the
14                following limitations: removal of duplicates shall only be done on exact duplicate

15                Documents (based on MD5 or SHA-1 hash values at the Document level). As a general

16                rule, a Producing Party may de-duplicate its production within a source (custodian), or

17                across the entire production (cross-custodian/globally). With respect to hard copy

18                documents for which metadata does not exist, however, a Producing Party may only de-
19                duplicate within a source (e.g., custodian), provided however that if the Producing Party

20                provides the custodian field for metadata as requested in Exhibit B it may de-duplicate

21                across the entire production. If a Producing Party de-duplicates across the entire

22                production (globally), the Producing Party shall provide both of the following: (1) the

23                name of each custodian possessing the de-duplicated copy; and (2) the metadata

24                indicating any BCCs on any de-duplicated emails.

25                             Where any such Documents have attachments, hash values must be identical

26                      for both the document-plus-attachment (including associated metadata) as well as for
27                      any attachment (including associated metadata) standing alone. Nothing in this

28                      paragraph is intended to resolve a Producing Party’s objections in written discovery
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 1                      requests on the ground that the request is duplicative because the requested

 2                      Documents were produced or are being produced by other parties.

 3           6) Paper Documents Containing Fixed Notes. Paper Documents that contain fixed notes
 4                shall be scanned with the notes affixed, if it can be done so in a manner so as not to

 5                obstruct other content on the Document. If the content of the Document is obscured by

 6                the affixed notes, the Document and note shall be scanned separately.

 7           7) Bates Numbering and Other Unique Identifiers. Each Producing Party shall Bates
 8                number its production(s) as follows:

 9                              i. Document Images. Each page of a produced Document—except Native

10                                 Files— shall have a legible, unique page identifier (“Bates Number”)

11                                 electronically “burned” onto the image at a location that does not

12                                 unreasonably obliterate, conceal, or interfere with any information from

13                                 the source document. The Bates Numbers shall be enumerated as defined

14                                 above in Definitions. The Producing Party will use a consistent prefix

15                                 throughout the matter unless good reason exists for using a different

16                                 prefix. No other legend or stamp will be placed on the Document Image

17                                 other than a confidentiality legend (where applicable), redactions, the

18                                 Bates Number identified above, and any other internal tracking number
19                                 that the Producing Party may choose to use. The confidentiality legend

20                                 shall be “burned” onto a Document’s image at a location that does not

21                                 unreasonably obliterate or obscure any information from the source

22                                 document.

23                             ii. Native Format Documents. In the event Native Format Documents are

24                                 produced, in order to preserve the integrity of those Native Format

25                                 Documents, no Bates Number, confidentiality legend or internal tracking

26                                 number should be added to the content of the Native Document unless
27                                 otherwise agreed between the Producing Party and the Receiving Party

28                                 during any meet and confer related to confidentiality protections for Native
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 1                                 Format Documents; however, the Producing Party will provide a MD5

 2                                 Hash Value for each Native Format Document.

 3           8) Metadata. The Producing Party shall produce the metadata information described in
 4                Exhibit B, if available, with each production and in the format described in Paragraph

 5                F(1)(iii)(a) above. The Producing Party has no obligation or duty to fill in any metadata

 6                fields or create any metadata that is not present with the original file. For each Document,

 7                the Producing Party shall produce a line in the index file with the fields identified in

 8                Exhibit B, where available. The field naming conventions shall be as described in Exhibit

 9                B unless otherwise agreed and consistently applied across all productions.

10           9) Compressed Files. Compression file types (i.e., .CAB, .GZ, .TAR, .Z, .ZIP) shall be
11                decompressed in a reiterative manner to ensure that a zip within a zip is decompressed

12                into the lowest possible compression resulting in individual folders and/or files.

13   G.      PRODUCTION OF PAPER DOCUMENTS
14                1) Unitization of Paper Documents: Paper documents should be logically unitized for
15                      production. Therefore, when scanning or producing paper documents, distinct

16                      documents shall not be merged into a single file or database record, and distinct

17                      documents shall not be split into multiple files or database records. The parties will

18                      make their best efforts to unitize documents correctly.
19                2) File/Binder Structures (Parent-Child Unitization): Where multiple documents
20                      were organized into groups, such as folders, clipped bundles and binders, each distinct

21                      document shall be unitized as described above, but maintained together in a parent-

22                      child relationship. The parties will make their best efforts to unitize parent-children

23                      groups correctly.

24                3) Identification: Where a document or a document group – such as folder, clipped
25                      bundle, or binder – has an identification spine, “Post-It Note” or any other label, the

26                      information on the label shall be scanned and produced as the first page of the
27                      document or grouping.

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 1                4) Custodian Identification: The parties will utilize best efforts to ensure that paper
 2                      records for a particular custodian, which are included in a single production, are

 3                      produced in consecutive Bates stamp order.

 4   H.      PHASING
 5           When a party propounds discovery requests pursuant to Federal Rule of Civil Procedure 34,

 6   the parties agree to promptly meet and confer regarding the sources and custodians of the initial

 7   production of ESI and the phasing of the production of ESI, should such phasing be appropriate.

 8   I.      OBJECTIONS TO ESI PRODUCTION
 9           If either party objects to producing requested information in the formats described herein on

10   the grounds that such information is not reasonably accessible because of undue burden or cost,

11   before asserting such an objection, the responding party will inform the requesting party of any

12   format in which it is willing to produce the requested data, the nature and location of the information

13   claimed to not be reasonably accessible, the reason(s) why the requested form of production would

14   impose an undue burden or is unreasonably costly, and afford the requesting party 10 business days

15   from receipt of such notice to propose an alternative means of compliance with the request. Such

16   proposal may include alternative cost estimates for ESI discovery production, may offer a proposal

17   for ESI discovery cost allocation, or both.

18           The parties shall meet and confer in good faith to resolve any dispute regarding a proposed
19   deviation from the provisions of this stipulation. To the extent the parties are unable to resolve any

20   such dispute, each party reserves the right to seek judicial intervention in compliance with the

21   relevant court rules and orders. Nothing in this Order negates the parties’ ongoing obligations to

22   report spoliation of evidence.

23   J.      DOCUMENTS PROTECTED FROM DISCOVERY
24           1) For any document withheld in its entirety or produced but redacted on the basis of

25                privilege or work product protections, the party withholding the document(s) (the

26                “Withholding Party”) will produce privilege/redaction logs consistent with the
27                requirements of the Federal Rules of Civil Procedure.

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 1           2) Privilege logs shall be in Excel format or any other format that permits electronic sorting

 2                and searching. When there is a chain of privileged e-mails, the Withholding Party need

 3                only include one entry for the top/most recent email on the privilege/redaction log for the

 4                entire e-mail chain and need not log each e-mail contained in the chain separately. For

 5                each document withheld or redacted, the producing party’s privilege/redaction logs shall

 6                include the following information: (a) custodian or source; (b) date; (c) author(s); (d) for

 7                documents produced but redacted on the ground of privilege, the starting and ending

 8                Bates number; (e) recipient(s), CC(s) and BCC(s) (for e-mail and hardcopy

 9                communication such as letters and internal memoranda); (f) specification of the privilege

10                claimed; and (g) a description of the document and the basis for the privilege or redaction

11                claim. Privilege/redaction logs shall be produced within 45 days of the production, or

12                another time period mutually agreed to by the parties.

13           3) Pursuant to Federal Rule of Evidence 502(b), the production of a privileged or work-

14                product-protected document, whether inadvertent or otherwise, is not an automatic waiver

15                of privilege or protection from discovery in this case or in any other federal or state

16                proceeding. For example, the mere production of privileged or work-product-protected

17                documents in this case as part of a mass production is not itself a waiver in this case or in

18                any other federal or state proceeding, and the Parties agree that the standard set forth in
19                Rule 502(b) shall apply.

20           4) The parties intend to meet and confer regarding, and enter into, a Stipulation and Order

21                pursuant to Federal Rule of Civil Procedure 502(d) for this litigation, which will address

22                all other issues of privilege, including the production of privileged or protected

23                documents or information.

24           5) Communications involving trial counsel that postdate the filing of the complaint need not

25                be placed in a privilege log. Communications may be identified on a privilege log by

26                category, rather than individually, if appropriate.
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 1   K.      PROPORTIONALITY AND COSTS
 2           The parties intend to meet and confer regarding the costs that parties will share to reduce

 3   overall discovery expenses, including a shared document repository or other cost-saving measures.

 4   L.      MODIFICATION
 5           This Stipulated Order may be modified by a Stipulated Order of the parties or by the Court

 6   for good cause shown.

 7   M.      MISCELLANEOUS
 8           This Stipulated Order is not intended to govern any protections or restrictions related to the

 9   production of privileged litigation material. Any documents recalled due to a mutually-agreed upon

10   claw-back provision shall have a specific protocol followed to ensure all copies of each such

11   document are appropriately removed from the review system of the opposite party.

12           IT IS SO STIPULATED, through Counsel of Record.
13

14   DATED: August 19, 2016                        HAGENS BERMAN SOBOL SHAPIRO LLP

15
                                                   By: /s/ Steve W. Berman
16                                                         Steve W. Berman (pro hac vice)
                                                   1918 Eighth Avenue, Suite 3300
17                                                 Seattle, Washington 98101
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18                                                 Facsimile: (206) 623-0594
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25                                                 Philadelphia, PA 19103
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27                                                 Attorneys for Plaintiffs

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 1   DATED: August 19, 2016                        SHEPPARD, MULLIN, RICHTER & HAMPTON LLP

 2

 3                                                 By: /s/ Anna S. McLean
                                                           Anna S. McLean (142233)
 4                                                 Neil A.F. Popivić (132403)
                                                   David E. Snyder (262001)
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 9                                                 dsnyder@sheppardmullin.com
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10                                                 msharma@sheppardmullin.com

11                                                 Attorneys for Defendant

12

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14
                        ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(i)(3)
15
              I, Steve W. Berman, am the ECF User whose identification and password are being used to
16   file this [Proposed] Stipulated Order re: Discovery of Electronically Stored Information. In
     compliance with Civil Local Rule 5-1(i)(3), I hereby attest that all signatories have concurred in this
17   filing.
18   Dated: August 19, 2016                        By:       /s/ Steve W. Berman
                                                         Steve W. Berman
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 1                                         ORDER
 2           PURSUANT TO STIPULATION, IT IS SO ORDERED.

 3

 4   DATED:                       ______
                                        UNITED STATES DISTRICT COURT JUDGE
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 2                                                EXHIBIT A
 3                                              DEFINITIONS
 4           A. “Electronically stored information” or “ESI,” as used herein, means and refers to
 5   computer generated information or data of any kind, stored in or on any storage media located on
 6   computers, file servers, disks, tape or other real or virtualized devices or media. Non limiting
 7   examples of ESI include:
 8           • Digital communications (e.g., e-mail, voice mail, instant messaging);
 9           • E-Mail Server Stores (e.g., Lotus Domino .NSF or Microsoft Exchange .EDB);
10           • Word processed documents (e.g., Word or WordPerfect files and drafts);
11           • Spreadsheets and tables (e.g., Excel or Lotus 123 worksheets);
12           • Accounting Application Data (e.g., QuickBooks, Money, Peachtree data);
13           • Image and Facsimile Files (e.g., .PDF, .TIFF, .JPG, .GIF images);
14           • Sound Recordings (e.g., .WAV and .MP3 files);
15           • Video and Animation (e.g., .AVI and .MOV files);
16           • Databases (e.g., Access, Oracle, SQL Server data, SAP);
17           • Contact and Relationship Management Data (e.g., Outlook, ACT!);
18           • Calendar and Diary Application Data (e.g., individual entries stored in an Outlook PST,
19           blog entries);
20           • Online Access Data (e.g., Temporary Internet Files, History, Cookies);
21           • Presentations (e.g., PowerPoint, Corel Presentations);
22           • Network Access and Server Activity Logs;
23           • Project Management Application Data;
24           • Computer Aided Design/Drawing Files;
25           • Backup and Archival Files (e.g., Veritas, Zip, .GHO); and
26           • Cloud based or other virtualized ESI, including application, infrastructure and data.
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 1           B. “Native File(s)” or “Native Format” means and refers to ESI that has an associated file
 2   structure defined by the creating or viewing application in the file type for (or of) the application in

 3   which such ESI is normally created, viewed, modified and/or as used by the producing party in the

 4   normal course of its business.

 5           C. “Metadata” means and refers to information embedded in or associated with a Native File
 6   (i) that does not constitute the primary content region of the file; (ii) that is not ordinarily viewable or

 7   printable from the application that generated, edited, or modified such Native File that describes the

 8   characteristics, origins, usage and/or validity of the electronic file; and/or (iii) that is generated

 9   automatically by the operation of a computer or other information technology system when a Native

10   File is created, modified, transmitted, deleted or otherwise manipulated by a user of such system.
11           D. “Database” means or refers to a set of related files that is created and managed by a
12   Database Management System or DBMS.

13           E. “Database Management System” or “DBMS” means and refers to software that controls
14   the organization, storage, retrieval, security and integrity of data in a database.

15           F. “Static Image” means or refers to a representation of ESI produced by scanning paper
16   documents or converting a Native File to create a standard image format capable of being viewed

17   and printed on standard computer systems. A Tagged Image File Format (TIFF) image is an example

18   of a Static Image.
19           G. “Documents” means or refers to any electronic or tangible medium from which
20   information can be obtained and /or translated into reasonably usable form, and shall have the same

21   meaning as used in the Federal Rules of Civil Procedure, including without limitation writings,

22   computer file, drawings, graphs, charts, photographs, sound recordings, images, video and other data,

23   data records or data.

24           H. “Load/Unitization File” means or refers to an electronic file containing information
25   identifying a set of paper-scanned images or processed ESI and containing (i) an indication of which

26   individual pages or files constitute each Document, including attachments, and links to the Static
27   Images associated with each Document; (ii) links to any Native Files, including attachments,

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 1   associated with each Document; and (iii) data relevant to each individual Document, including

 2   extracted and user-created Metadata and coded data.

 3           I. “OCR” means or refers to the optical character recognition file that is created by software
 4   used in conjunction with a scanner that is capable of reading text-based documents and making such

 5   documents searchable using appropriate software.

 6           J. “Extracted Text” means or refers to the user-created text that can be electronically
 7   extracted from a native file without the use of OCR. Extracted text is favored over OCR.

 8           K. “Receiving Party” means or refers to the party receiving production of Documents in
 9   response to any request for production of document(s) pursuant to Federal Rule of Civil Procedure

10   34(a) or pursuant to any initial production of documents identified in the party’s Rule 26(a)

11   disclosures.

12           L. “Producing Party” means or refers to the party producing Documents in response to any
13   request for production of documents pursuant to Federal Rule of Civil Procedure 34(a) or pursuant to

14   any initial production of documents identified in the party’s Rule 26(a) disclosures.

15           M. “Bates Number” means or refers to an identifier consisting of a two to seven letter prefix,
16   associated with the Producing Party’s name, followed by numbers (e.g., ABCD000000001). Each

17   page in the production is assigned a unique, incremental Bates number. The prefix must be the same

18   for all pages from the same Producing Party unless good reason exists for the Producing Party to use
19   a different prefix.

20           N. “Media” means an object or device, real or virtualized, including but not limited to a disc,
21   tape, computer or other device, on which data is or was stored.

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 1                                           EXHIBIT B
 2                                          METADATA
 3        Field Name    Populated For Email,                       Field Description
                           Efile, Calendar,
 4                        Contact, or Paper
                             (“ESI Items”
 5                       collectively refers to
                              Email, Efile,
 6                          Calendar, and
                        Contact) (“All Items”
 7                       collectively refers to
                        ESI Items and Paper)
 8   BegBates           All Items                First Bates number (production number) of an item
     EndBates           All Items               Last Bates number (production number) of an item
 9                                              **The EndBates field should be populated for single-
                                                page items.
10   AttachRange        All Items               Bates number of the first page of the parent item to
                                                the Bates number of the last page of the last
11                                              attachment “child” item
     BegAttach          All Items               First Bates number of attachment range (i.e., Bates
12                                              number of the first page of the first attachment)
     EndAttach          All Items               Last Bates number of attachment range (i.e., Bates
13                                              number of the last page of the last attachment)
     PgCount            All Items               Number of pages in the item
14   Custodian          All Items               Name of person from whose files the item is produced
15   CustodianOther     All ESI Items           Name of the person(s), in addition to the Custodian,
                                                from whose files the item would have been produced
16                                              if it had not been de-duplicated
     FileSize           All ESI items           Size (in kilobytes) of the source native file
17   SourceFilePath     All ESI items           The directory structure or path where the original file
                                                was stored on the party’s source computer system,
18                                              ending in the filename. Any container name (such as
                                                ZIP or PST containers) is included in the path.
19   HashValue          All ESI items           The MD5 or SHA-1 hash value of the file.
     NativeFileLink     All ESI items           Hyperlink path for documents provided in native
20                                              format only.
                                                **The linked file must be named per the BegBates
21                                              value.
     SourceParty        All Items               Name of party producing the item
22   RecordType         All Items               Indicates item type (e.g., paper, email, edoc, image,
                                                attachment)
23   Application        All ESI items           Indicates software application that generated the ESI
                                                item (e.g., Outlook, word, etc.)
24   FileExtension      All ESI items           Indicates file extension of source native file
     DateSent           Email, Calendar         Date email or calendar item was sent
25   (mm/dd/yyyy)
     LastModDate        All ESI items           Date the item was last modified
26   (mm/dd/yyyy)
     TimeSent           Email, Calendar         Time email or calendar item was sent
27   (hh:mmAM/PM)
     DateReceived       Email, Calendar         Date email or calendar item was received
28
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 1        Field Name    Populated For Email,                      Field Description
                           Efile, Calendar,
 2                        Contact, or Paper
                             (“ESI Items”
 3                       collectively refers to
                              Email, Efile,
 4                          Calendar, and
                        Contact) (“All Items”
 5                       collectively refers to
                        ESI Items and Paper)
 6   TimeReceived       Email, Calendar         Time email or calendar item was received
     ParentBates        All Items               First Bates number for the parent item of a family
 7                                              **Will not be populated for items that are not part of
                                                a family. Should be populated in each record
 8                                              representing an attachment “child” item.
     AttachBates        Email                   First Bates number of each “child” attachment.
 9                                              **Can be more than one Bates number listed
                                                depending on the number of attachments. Should be
10                                              populated in each record representing a “parent”
                                                document.
11   To                 Email, Calendar         The names and SMTP email addresses of all
                                                recipients that were included on the “To” line of the
12                                              email or calendar item
     From               Email, Calendar         The name and SMTP email address of the sender of
13                                              the email or calendar item
     CC                 Email, Calendar         The names and SMTP email addresses of all
14                                              recipients that were included on the “CC” line of the
                                                email or calendar item
15   BCC                Email, Calendar         The names and SMTP email addresses of all
                                                recipients that were included on the “BCC” line of the
16                                              email or calendar item
17   AttachCount        All Items               Number of attached, embedded or grouped items
     AttachName         All ESI items           The file name(s) of the attached items
18   Importance Ranking Email, Calendar         Level of importance/sensitivity of messages or
                                                calendar items
19   Follow- Up Flags   Email, Calendar         Tracks responses to messages or calendar items that
                                                were sent and follow up on messages or calendar that
20                                              were received.
21   Status as READ or Email, Calendar          Whether or not a message or calendar item was
     UNREAD                                     READ or UNREAD.
22   MessageID          Email, Calendar         The unique message identifier generated by the
                                                source email or calendar system
23   PrevMessageID      Email                   The MessageID of the previous message in the email
                                                thread (the message that was replied to or forwarded)
24   AgentID            All ESI items           The name and SMTP email address of any delegate
                                                who created the item “on behalf’ of the owner/author
25   DateCreated        All ESI items           Date the item was created
     (mm/dd/yyyy)
26   TimeCreated        All ESI items           Time the item was created
     (hh:mm AM/PM)
27   ModifiedBy         All ESI items           Person who last modified or saved the item, as
                                                populated in the metadata or document properties of
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 1        Field Name     Populated For Email,                        Field Description
                            Efile, Calendar,
 2                         Contact, or Paper
                              (“ESI Items”
 3                        collectively refers to
                              Email, Efile,
 4                           Calendar, and
                         Contact) (“All Items”
 5                        collectively refers to
                         ESI Items and Paper)
 6                                                 the native file
     LastModTime         All ESI items             Time the item was last modified
 7   (hh:mm AM/PM)
     LastAccessDate      All ESI items             Date the item was last accessed
 8   (mm/dd/yyyy)
     LastAccessTime      All ESI items             Time the item was last accessed
 9   (hh:mm AM/PM)
     FileName            All ESI items             The filename of the source native file for an ESI item
10   Title               Efile                     Any value populated in the Title field of the source
                                                   file metadata or item properties
11   Subject             All ESI items             Any value populated in the Subject field of the source
                                                   file metadata or document properties (e.g., subject
12                                                 line of email or calendar item)
13   Author              All ESI items             Creator of the document; any value populated in the
                                                   Author field of the source file metadata or document
14                                                 properties
     TextPath            All Items                 Full relative path to the current location of the
15                                                 document-level text file specified in Paragraph
                                                   F(1)(iii)(B) of this ESI Stipulation and Order.
16   Redacted            All Items                 User-generated field that will indicate
                                                   redactions. “X,” “Y,” “Yes,” “True,” are
17                                                 all acceptable indicators that the document
                                                   is redacted. Otherwise, blank.
18   Confidentiality     All Items                 Indicates if item has been designated as
19                                                 “Confidential” or “Highly Confidential” under the
                                                   Protective Order
20   ContactNames        Contact                   All names associated with contact entry (such as first,
                                                   last, middle, nicknames, prefix, suffix, etc.)
21   ContactEmail        Contact                   All email addresses associated with the contact record
     ContactEmailAlias   Contact                   For example, the name or reference that will display
22
                                                   in the email address lines in place of the actual email
23                                                 address
     ContactPhone        Contact                   All phone numbers associated with the contact entry
24   Contact Mail        Contact                   All physical mailing addresses associated with the
                                                   contact entry
25   Contact URL         Contact                   All URL addresses associated with the contact entry
26   ContactNotes        Contact                   All free text entered by user that is associated with
                                                   and reflected in contact entry
27   ContactAssociations Contact                   Identification of other contact entries associated with
                                                   and reflected in the contact entry, such as contact
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 1        Field Name      Populated For Email,                        Field Description
                             Efile, Calendar,
 2                          Contact, or Paper
                               (“ESI Items”
 3                         collectively refers to
                               Email, Efile,
 4                            Calendar, and
                          Contact) (“All Items”
 5                         collectively refers to
                          ESI Items and Paper)
 6                                                  entry’s assistant or manager
     ContactTracking      Contact                   Track contacts made with the person or entity shown
 7                                                  in the contact entry, such as date and/or time and type
 8                                                  of contact
     ContactFollowup      Contact                   Tracks responses to contact entries that were sent and
 9                                                  follow up on contact entries that were received
     ContactCategories    Contact                   Specific fields designed to sort, filter or classify the
10                                                  contact entry
11   CalendarStartDate    Calendar                  Calendar meeting/appointment start date
     CalendarStarttime    Calendar                  Calendar meeting/appointment start time
12   CalendarParticipants Calendar                  Calendar meeting/appointment
                                                    attendees/participants/recipients
13   CalendarNotes        Calendar                  All free text entered by user that is reflected in the
                                                    body text section of the calendar entry
14
     CalendarCategories   Calendar                  Specific fields designed to sort, filter or classify
15                                                  calendar entries
     CalendarResponse     Calendar                  The acceptance response given by each
16                                                  attendee/participant/recipient to a proposed
                                                    appointment or meeting invitation (such as accept,
17                                                  tentative or decline)
18   RFPNumber            Paper                     Identifier used to reflect the document request to
                                                    which the item is responsive
19   Timezone             All ESI Items
     HiddenData           All ESI Items
20   InternetMsgID        All ESI Items             Globally unique identifier for a message, which
                                                    typically includes message ID and a domain name
21
                                                    (for instance, abcde123@abcde.123.net)
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